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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,               )
                                        )
                   Plaintiff,           )                  4:09CR3091
                                        )
            v.                          )
                                        )
JOBITA WILLETTA AVERY,                  )                    ORDER
                                        )
                   Defendant.           )
                                        )


      The undersigned is in receipt of a letter from the defendant.

      IT IS ORDERED that:

      (1)   The Clerk of Court shall file the defendant’s letter as a motion.

      (2)   Treating the defendant’s letter as a motion, it is denied.

      (3) The Clerk of Court shall send a copy of this order to the defendant at the
defendant’s last known address.

      DATED this 2nd day of February, 2017.

                                       BY THE COURT:

                                       s/ Richard G. Kopf
                                       Senior United States District Judge
